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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Noa_Oren@fd.org
6    Attorney for Defendant
     DION L. JOHNSON II
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )   Case No. 2:15-cr-00134-GEB
                                                      )
11                   Plaintiff,                       )
                                                      )   STIPULATION AND [PROPOSED] ORDER
12           v.                                           TO CONTINUE STATUS CONFERENCE
                                                      )   AND EXCLUDE TIME
13   LONDON J. WEBB et al.,                           )
                                                      )   Date: December 1, 2017
14                   Defendant.                       )   Time: 9:00 a.m.
                                                      )   Judge: Garland E. Burrell, Jr.
15                                                    )
16
17            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
18   Attorney, through Justin Lee, Assistant United States Attorney and attorney for Plaintiff, and
19   Heather Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney
20   for Dion Laroy Johnson II, that the status conference set for December 1, 2017, be continued to
21   March 16, 2018 at 9:00 a.m.
22            The reason for this continuance is to allow defense counsel additional time to review
23   discovery with the defendant, to continue investigating the facts of the case and negotiating a
24   possible resolution. Ms. Oren is still on maternity leave and is due back in late February of
25   2018. This will allow Ms. Oren additional time to familiarize herself with the current status of
26   the case.
27            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
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      Stipulation and Order to Continue and Exclude       -1-                  U.S. v. Webb et al, 15-cr-134 GEB
      Time
        Case 2:15-cr-00134-TLN Document 56 Filed 12/01/17 Page 2 of 3


1    excluded of this order’s date through and including March 16, 2018; pursuant to 18 U.S.C.§3161
2    (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
3    upon continuity of counsel and defense preparation.
4             Counsel and the defendants also agree that the ends of justice served by the Court
5    granting this continuance outweigh the best interests of the public and the defendants in a speedy
6    trial.
7                                                     Respectfully submitted,
8    DATED: November 30, 2017                         HEATHER E. WILLIAMS
                                                      Federal Defender
9
10                                                    /s/ Linda C. Allison for
                                                      NOA E. OREN
11                                                    Assistant Federal Defender
                                                      Attorney for Defendant
12                                                    DION L. JOHNSON II
13   DATED: November 30, 2017                         PHILLIP A. TALBERT
14                                                    United States Attorney

15                                                    /s/ Justin Lee
                                                      JUSTIN LEE
16                                                    Assistant U.S. Attorney
                                                      Attorney for Plaintiff
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      Stipulation and Order to Continue and Exclude     -2-                 U.S. v. Webb et al, 15-cr-134 GEB
      Time
       Case 2:15-cr-00134-TLN Document 56 Filed 12/01/17 Page 3 of 3


1                                                     ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8
             The Court orders the December 1, 2017 status conference be rescheduled for March 16,
9
     2018, at 9:00 a.m. The Court orders the time from the date of the parties stipulation, up to and
10
     including March 16, 2018, excluded from computation of time within which the trial of this case
11
     must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local
12
     Code T4.
13
     Dated: November 30, 2017
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      Stipulation and Order to Continue and Exclude    -3-                  U.S. v. Webb et al, 15-cr-134 GEB
      Time
